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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA ex rel.          )
INTEGRA MED ANALYTICS LLC,                )
                                          )
                                          )
                Plaintiff,                )
                                          )
                       v.                 )
                                          )
ISAAC LAUFER, ET AL,                      ) No. 7:17-cv-09424 (CS)
                                          )
                                          )
                Defendants.
                                          )


UNITED STATES OF AMERICA,                 )
                                          )
                Plaintiff,                )
                                          )
                                          )
                     v.                   )
                                          )
ISSAC LAUFER, ET AL,                      )
                                          )
                Defendants.               )
                                          )


                    MEMORANDUM IN SUPPORT OF
                 ISSAC LAUFER’S MOTION TO DISMISS


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                                PRELIMINARY STATEMENT

       Issac Laufer is a 55 year-old resident of Monsey, New York.                     His father,

who recently passed away from a lengthy battle with cancer, was the co-owner of two

skilled nursing facilities. 1     Laufer worked in those facilities as a young man,

performing both administrative tasks and manual labor. Although he was not involved

in the treatment of patients, Laufer’s work gave him a firsthand appreciation of the

positive difference that a warm, caring, and competent skilled nursing facility can make

in the lives of patients and their families.

       Approximately a decade ago, Laufer decided to follow in his father’s footsteps and

become an owner of skilled nursing facilities. Over a period of years, Laufer acquired

ownership interests in ten skilled nursing facilities, either by himself of as part of a larger

investor group.     Laufer’s ownership percentage varies facility-by-facility; for some

facilities, he is the sole owner, while for others his ownership percentage is less than 10

percent. Laufer is also the sole owner of defendant Paragon Management SNF LLC, which

provides various support services to the facilities. One of Paragon’s employees is Tami

Whitney, an experienced occupational therapist who Laufer hired to serve as Paragon’s

Coordinator of Rehabilitation Services.

       The government’s complaint alleges that the ten facilities in which Laufer holds

ownership interests, as well as one facility that Laufer’s father owned, violated the False

Claims Act by billing Medicare for (1) skilled nursing care provided to patients who had


1
  The Court may take judicial notice of Laufer’s father’s passing. The government’s complaint
refers to Laufer’s father in the present tense, but this memorandum refers to him in the past tense.

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no medical need for it, (2) therapy that was more intense than patients needed or could

handle, and (3) care that was “unskilled.” In addition to the facilities, the complaint names

Paragon, Whitney, and Laufer as defendants. Prior to this lawsuit, Laufer had never been

accused of any wrongdoing in his entire life. The government’s claims against Laufer are

a direct assault on his otherwise sterling reputation.

       Laufer’s ownership interests in the facilities and Paragon are not, of course, a basis

to accuse him personally of Medicare fraud, or to hold him personally liable for the

facilities’ or Paragon’s alleged violations of the False Claims Act. Cf., e.g., Meyer v.

Holley, 537 U.S. 280, 286 (2003) (holding that the owners of a corporation are not

vicariously liable for the misconduct of the corporation or its employees). Instead, the

government must show that Laufer himself “cause[d]” the facilities to submit false claims

to Medicare and that he did so “knowingly.” See 31 U.S.C. § 3729(a)(1)(A)-(B). This

means that the government’s complaint must allege, plausibly and with particularity, facts

showing (1) that Laufer personally engaged in improper conduct the “natural, ordinary and

reasonable consequence[ ]” of which was the facilities’ submission of false claims, United

States ex rel. Kolchinsky v. Moody’s Corp., 162 F. Supp. 3d 186, 195 (S.D.N.Y. 2016), and

(2) a “strong inference” that Laufer personally acted with “fraudulent intent,” United States

ex rel. Tessler v. City of New York, 712 F. App’x 27, 29 (2d Cir. 2017). The government’s

complaint fails to do so.

       The first paragraph of the government’s complaint alleges in conclusory fashion that

Laufer “instructed and pressured Facility employees” to provide and bill Medicare for

skilled nursing therapy that was not medically “reasonable or necessary.” Gov’t Compl.,


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Dkt. #13, ¶ 1.    The complaint later alleges, in equally conclusory fashion, that Laufer

commanded Paragon employee Tami Whitney to “direct[ ] employees at the Facilities” to

keep patients longer than reasonable or necessary and to prescribe therapy levels that were

higher than reasonable or necessary. Id., ¶ 57. Conclusory allegations, of course, do not

even satisfy Rule 8’s plausibility standard, let alone Rule 9(b)’s more rigorous requirement

that fraud claims be pled with particularity.

       The government’s complaint is the culmination of a three-year investigation.

During the investigation, the government obtained thousands of documents, interviewed

numerous employees of the facilities and Paragon, and took sworn testimony from both

Whitney and Laufer. Yet, the complaint’s only particularized factual allegations regarding

Laufer’s conduct are thirteen electronic communications between him and Whitney, one

from November 2013 and twelve from between December 2015 and April 2018. See id.,

¶¶ 63-68, 75-78, 83, 91, and 92; see also Exhs. #1-#13 (copies of the communications, in

chronological order). 2 The government asserts that these communications sufficiently

demonstrate that Laufer, through “directives” that he provided to Whitney, knowingly

pressured or directed facility employees or administrators to commit Medicare fraud in

order to maximize the facilities’ revenue. In fact, however, the communications described

in the complaint demonstrate no such thing.




2
 Twelve of the communications are text message threads. One of the communications is a
voicemail from Whitney to Laufer. A transcript of this voicemail is included as an exhibit to this
memorandum. We have also provided the Court with an audio file of the voicemail.

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       The communications between Laufer and Whitney show that Laufer monitored at a

high level various metrics relevant to the facilities’ patient care and financial performance,

urged Whitney to pay close attention to and help the facilities improve upon those metrics,

and encouraged the facilities to maximize their revenue opportunities. This is something

that any conscientious owner would do, and it thus cannot be considered indicia of fraud.

The communications also show that, when a facility’s patient discharge trend appeared to

be going in the wrong direction, Laufer expressed concern and asked Whitney to

investigate the reason for the trend change and to focus on reducing discharges. This,

however, is not indicia of fraud either, because reducing discharges does not mean retaining

patients who have no legitimate need for skilled nursing care.

       The unstated premise of the government’s fraud theory against Laufer is that

seeking to “reduce” or “curb” discharges is fraudulent per se.                 That premise is

demonstrably wrong. Patients sometimes are discharged from a skilled nursing facility

despite the fact that they still need skilled nursing care. For example, the patient may

dislike the facility’s amenities, the facility’s staff, or the facility’s quality of care; just as

an unhappy customer might leave a restaurant in the middle of a meal or change hotels in

the middle of a trip, such a patient may choose to transfer to a different facility or even to

go home against medical advice. Or the facility may temporarily lack resources that the

patient needs, leading the patient to transfer to a facility with the right resources. Or the

facility’s staff may inappropriately push the patient out because the patient is difficult and

the staff is seeking to avoid aggravation. Or the facility’s staff may have incorrectly

assessed the patient’s condition and engaged in deficient discharge planning. Or the patient


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might simply be homesick and prefer to go home even if they would be better off

continuing to receive care in the facility.

       As Whitney advised Laufer on December 9, 2015, a facility that in the past had been

“keeping people ‘the appropriate length of stay’” was now “‘quite the opposite’ because

the Director [of Rehabilitation] was ‘discharging people too soon[.]’” Id., ¶ 92. Similarly,

on April 26, 2018, Whitney advised Laufer that a “handful” of the discharges at a facility

were patients who simply “wanted to leave for a variety of reasons.” Exh. 12 (copy of text

communication described in paragraph 64 of the complaint). Laufer was entirely justified

in expressing concern when Whitney apprised him of such information. Prematurely

discharging patients who still need skilled nursing care adversely affects both patient

outcomes and a facility’s financial performance. Premature discharges are also a signal

that the facility’s quality of care may be lagging, which is bad for the facility’s current

patients and the facility’s reputation in the community. It is entirely legitimate for the

owner of a facility to monitor and seek to reduce premature discharges, and reducing

discharges does not mean that the facility is fraudulently retaining patients who are

medically fit to go home. The submission of false claims was, therefore, not the “natural,

ordinary and reasonable consequence[ ]” of any of the so-called “directives” that Laufer

gave to Whitney regarding patient discharges. Kolchinsky, 162 F. Supp. 3d at 195.

Moreover, because Laufer’s monitoring of census information and his communications

with Whitney were consistent with legitimate oversight by a conscientious owner, they do

not come close to raising the “strong inference” of fraudulent intent that is required to

survive a motion to dismiss. The government’s attempt to imbue benign communications


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between Laufer and Whitney with a nefarious meaning is precisely the type of speculation

that Rule 8 and Rule 9(b) do not allow.

       The Court must assess the adequacy of the government’s complaint on a defendant-

by-defendant basis. Even if the Court concludes that the complaint’s allegations are

adequate as to some defendants, the Court should conclude that they are not adequate as to

Laufer. The Court should dismiss the claims against Laufer with prejudice. 3

                             RELEVANT BACKGROUND

       A.     Medicare Coverage for Skilled Nursing Facility Services

       Skilled nursing facilities provide care for two categories of patients: (1) elderly or

disabled patients for whom the facility is their long-term home; and (2) patients who would

benefit from skilled nursing care after an inpatient hospital stay for injury or illness. The

facilities in which Laufer holds ownership interests care for both categories of patients,

though the government’s allegations only relate to the second category.

       According to CMS, a patient who has been hospitalized for injury or illness would

benefit from skilled nursing care if such care would help to restore the patient to her prior

physical condition, to maintain or preserve the patient’s current condition, or to slow the

deterioration of the patient’s condition. See 42 C.F.R. § 409.32(c). For such patients,

Medicare Part A covers up to 100 days in a skilled nursing facility after the patient’s



3
  Laufer agrees with and hereby joins the other defendants’ arguments that the
government’s complaint fails to adequately allege the knowing submission of any false
claims. Laufer’s motion to dismiss, however, does not depend upon the Court granting any
other defendant’s motion to dismiss, nor does it depend upon the Court finding that the
complaint fails to adequately allege that the facilities submitted some false claims.


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discharge from the hospital. Medicare pays the facility a per diem rate for each patient,

and the rate depends upon the level of medically reasonable and necessary therapy that the

facility provides to the patient. The therapy levels are colloquially referred to as “RUG

levels,” with “ultra high” being the highest level.

       Medicare covers the entire cost of the patient’s first twenty days in the facility.

Beginning with the twenty-first day, the patient is subject to a copay of approximately $175

per day. See 42 C.F.R. § 409.85(a)(2).

       B.     The Skilled Nursing Facilities and Paragon

       Laufer has ownership interests in ten of the facilities that the complaint names as

defendants. 4 Laufer’s ownership percentage varies by facility and in some instances is less

than 10 percent (e.g., the Glen Cove facility). 5 Each of the facilities is separately

incorporated as a limited liability company. Id., ¶ 50. Each of the facilities is separately

managed and employs its own administrator, rehabilitation director, nursing director, MDS

coordinator, other department heads, a medical director, licensed nurses, therapists, and

other clinical, administrative, and medical staff. Id., ¶¶ 51-52. The employees of each

facility report up to the facility’s administrator, either directly or through their pertinent

supervisors or department heads; and the administrator oversees and ultimately is

responsible for the facility’s operations. Id.



4
  Long Island Care Center is the defendant facility in which Laufer has never held an ownership
interest.
5
 For some facilities, Laufer’s present ownership percentage is 100 percent but his ownership
percentage during the time period relevant to the government’s complaint was far less (e.g., the
Emerge facility, where his ownership percentage was roughly 2 percent until approximately 2018).

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       Laufer also owns Paragon Management SNF LLC. Id., ¶¶ 13, 50-51. Laufer is the

sole owner of Paragon.        Paragon provides various management, marketing, and

administrative support services to each of the facilities in which Laufer holds an ownership

interest.

       As an owner or co-owner of the facilities and Paragon, Laufer is not personally

involved in patient care decisions, nor is he privy to any clinical information regarding any

particular patients. Id., ¶ 61. Laufer monitors each facility’s performance at a high level,

including receiving for each facility a daily census report that indicates, inter alia, the

number of new admissions, the number of hospitalizations (i.e., patients who needed to be

transferred back to a hospital for some type of treatment), the number of patients discharged

from the facility, and the number of patients who left the facility against medical advice.

Id., ¶ 62. This information provides Laufer some insight into the quality of the facilities’

patient care, as well as their financial performance.

       C.      The Qui Tam, and the Government’s Three-Year Investigation

       On December 1, 2017, a Texas company called Integra Med Analytics filed a qui

tam complaint against Laufer and eight facilities. Integra is essentially a professional qui

tam relator; there are at least five other unsealed qui tam complaints on PACER where

Integra is the relator.

       Integra’s qui tam complaint was not based on any inside information, medical

expertise, or meaningful review of patient files. Instead, Integra’s qui tam complaint was

based on publicly-available Medicare claims data and what Integra calls “causal

econometric methods.” Integra Compl., Dkt. #14, ¶ 5. Integra compared Medicare claims


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data for so-called “Laufer facilities” to Medicare claims data for all skilled nursing facilities

nationwide. Based on this data, Integra alleged that “linear regression model[s]” showed

that the amount of “Ultra High Rehab being offered at Laufer facilities” exceeded the

national average. Id., ¶ 12. Integra also alleged that “Laufer facilities keep patients longer”

than the national average. Id., ¶ 94. The unstated premise of Integra’s complaint is that

the national averages reflect the medically correct lengths of stay and therapy levels, such

that the “Laufer facilities” must have been billing Medicare for care that was medically

excessive. Integra’s complaint does not provide any facts to support this unstated premise.

In any event, Integra’s complaint does not allege that Laufer was personally aware that the

average lengths of stay and average therapy levels at the “Laufer facilities” exceeded

national averages.

       The government investigated Integra’s allegations for more than three years. The

government received thousands of documents, including patient files and electronic

communications involving facility employees, Paragon employees, and Laufer.                 The

government also interviewed current and former employees of certain facilities and

Paragon. The government also took sworn testimony from Whitney and from Laufer.

Laufer’s sworn testimony lasted approximately eight hours.

       D.     The Government’s Allegations Regarding Laufer’s Conduct

       On June 2, 2021, the government filed its complaint-in-intervention. The complaint

alleges in conclusory fashion that Laufer “instructed and pressured Facility employees to”

commit Medicare fraud “in order to maximize profits . . . .” Gov’t Compl, ¶ 1.              The




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complaint also alleges in conclusory fashion that Laufer commanded Whitney to “direct[ ]

employees at the Facilities” to engage in Medicare fraud. Id., ¶¶ 57-58.

       The complaint goes on to allege that “Laufer expected the administrator of each

Facility to send him a daily update reporting the number of patient admissions, discharges,

and hospitalizations, broken down by whether the patient had Medicare or other insurance,

and to justify the number of discharges of Medicare patients.” Id., ¶ 62. According to the

complaint, “[w]hen the numbers were not to his liking, Laufer instructed Whitney to

prevent patients from being discharged.” Id. To support these general assertions, the

complaint describes thirteen electronic communications—twelve text messages threads

and one voicemail—between Laufer and Whitney. See id., ¶¶ 63-68, 75-78, 83, 91, and

92. These communications are the complaint’s only particularized facts of Laufer’s

conduct. Ostensibly for strategic reasons, the complaint sets out the communications in

essentially random, non-chronological order.       The complaint’s descriptions of the

communications are consistently argumentative.       Although the complaint sometimes

quotes the communications, the quotes are selective and omit significant portions of the

communications.

       The earliest communication described in the complaint is a November 22, 2013 text

message in which Whitney stated to Laufer that the “rehab levels” at the Excel and Long

Island Care Center facilities were “well balanced” but that there was “room for improving

and prolong dropping residents down a [therapy] category.”         Exh. 1 (text message

described in paragraph 91 of the complaint). Whitney told Laufer she would “stay on top

of this.” Id. The next earliest communication is a December 9, 2015 voicemail in which


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Whitney told Laufer that Long Island Care Center’s director of rehabilitation previously

had been placing “everyone on ultra [high therapy] appropriately” and keeping patients

“the appropriate length of stay” but now was “discharging [patients] too soon” and putting

patients on therapy levels that were “all off.” Exh. 2 (transcript of voicemail described in

paragraph 92 of the complaint).       The remainder of the communications occurred

between January 2016 and April 2018.               This includes an April 26, 2018

communication, described in paragraph 64 of the complaint, in which Laufer asked

Whitney to “pls see whats [sic] going on at Lynbrook [with community discharges].”

Exh. 12. Whitney responded that “there is [definitely] an issue,” that “[t]here were a

handful of [patients] that wanted to leave [the facility] for [a] variety of reasons,” and

that she was “[d]igging to figure out why.” Id. Laufer responded, “We cant [sic] have

more tami! Were [sic] falling appart [sic].” Id.

       None of the thirteen communications between Laufer and Whitney described in the

complaint involved a discussion of any particular patients.                 None of the

communications involved Laufer directing Whitney that the facilities should provide or

bill for medically unnecessary or medically unreasonable care.              None of the

communications involved Whitney informing Laufer that the facilities’ length of stays

or utilization of ultra-high therapy levels significantly exceeded national averages.

None of the communications involved Whitney warning Laufer that the facilities were

providing medically unnecessary or medically unreasonable care.          And none of the

communications involved Whitney advising Laufer that the facilities could not reduce

patient discharges legitimately.


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                       APPLICABLE PLEADING STANDARDS

       The government’s statutory and common law claims against Laufer are subject both

to Rule 8’s plausibility standard and to Rule 9(b)’s heighted pleading requirements. See,

e.g., Gold v. Morrison-Knudsen Co., 68 F.3d 1475, 1476-77 (2d Cir. 1995) (“[C]laims

brought under the FCA fall within the express scope of Rule 9(b).”); United States ex rel.

Kester v. Novartis Pharms. Corp., 23 F. Supp. 3d 242, 269 (S.D.N.Y. 2014) (applying Rule

9(b) to unjust enrichment and “payment by mistake” claims premised on alleged

“submission of fraudulent claims to government programs”).

       A.     Rule 8

       To satisfy Rule 8, a complaint “must contain sufficient factual matter, accepted as

true, to state a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (internal quotation marks omitted). Conclusory allegations do not suffice, and

“thus a court’s first task is to disregard any conclusory statements in a complaint.” DirecTV

Latin Am., LLC v. Park 610, LLC, 691 F. Supp. 2d 405, 428 (S.D.N.Y. 2010). The

complaint’s non-conclusory factual allegations must be sufficient to allow the district court

to draw a “reasonable inference” that the defendant violated the law. Iqbal, 556 U.S. at

678.   Non-conclusory factual allegations that demonstrate merely a “possibility of

misconduct” are not sufficient. Id. at 679 (emphasis added). Accordingly, to satisfy Rule

8’s plausibility standard, a complaint must contain more than factual allegations that are

“merely consistent with” the plaintiff’s theory of liability against the defendant. Bell

Atlantic Co. v. Twombly, 550 U.S. 544, 557 (2007).




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       B.      Rule 9(b)

       Rule 9(b) imposes a significantly higher burden than Rule 8. Rule 9(b) requires a

complaint to allege “with particularity the circumstances constituting fraud . . . .” Fed. R.

Civ. P. 9(b). The purpose of this heightened pleading requirement is both to provide the

defendant with “fair notice of the plaintiff’s claim” and “to safeguard a defendant’s

reputation from improvident charges of wrongdoing . . . .” United States ex rel. Ladas v.

Exelis, Inc., 824 F.3d 16, 25 (2d Cir. 2016). Rule 9(b) therefore requires the complaint to

“be supported by more than ‘conclusory statements’ or ‘hypotheses,’” and to “plead [a]

factual basis which gives rise to a strong inference of fraudulent intent.’” Tessler, 712 F.

App’x at 29 (quoting O’Brien v. Nat’l Prop. Analyst Partners, 936 F.2d 674, 676 (2d Cir.

1991)); see also United States v. Strock, 982 F.3d 51, 66 (2d Cir. 2020) (same); Twohig v.

Shop-Rite Supermarkets, Inc., 519 F. Supp. 3d 154, 166 (S.D.N.Y. 2021) (Seibel, J.)

(same).

       To satisfy Rule 9(b), a complaint must “set forth” with particularity the “who, what,

when, where, and how of the alleged fraud.” United States ex rel. Kester v. Novartis

Pharms. Corp., 23 F. Supp. 3d 242, 251-252 (S.D.N.Y. 2014) (internal quotations omitted).

Where a complaint accuses multiple defendants of fraud, Rule 9(b) requires the complaint

to “set[ ] forth separately the acts complained of by each defendant.” Sofi Classic S.A. de

C.V. v. Hurowitz, 444 F. Supp. 2d 231, 248 (S.D.N.Y. 2006); see also Natowitz v.

Mehlman, 542 F. Supp. 674, 676 (S.D.N.Y. 1982) (holding that a complaint must “allege

specifically the fraud perpetrated by each defendant”). The complaint cannot simply

“attribute[ ] the alleged fraudulent [conduct] to ‘defendants.’” Mills v. Polar Molecular


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Corp., 12 F.3d 1170, 1175 (2d Cir. 1993). Where, as here, the plaintiff’s theory is that the

defendant knowingly “caused” another party to submit false claims, Rule 9(b) requires the

plaintiff “to adequately allege the entire [causal] chain—from start to finish—to fairly

show [that the] defendant[ ] caused false claims to be filed.” United States ex rel. Ibanez

v. Bristol-Myers Squibb Co., 874 F.3d 905, 914 (6th Cir. 2017).

                                       ARGUMENT

       The complaint’s non-conclusory, particularized factual allegations regarding

Laufer’s conduct are limited to thirteen electronic communications between Laufer and

Whitney. The sufficiency of the government’s complaint against Laufer, and the ability of

the complaint to withstand Laufer’s motion to dismiss, thus rises and falls on these

communications. Even at the motion to dismiss stage, the Court is entitled to consider the

electronic communications themselves, because they are incorporated by reference into the

complaint. See, e.g., ATSI Communs., Inc. v. Shaar Fund, Ltd., 493 F.3d 87, 98 (2d Cir.

2007). In determining whether the communications raise a “strong inference” that Laufer,

acting with fraudulent intent, caused the facilities to submit false claims, the actual content

communications—not the complaint’s argumentative descriptions of them—controls. See,

e.g., Rapoport v. Asia Elecs. Holding Co., 88 F. Supp. 2d 179, 184 (S.D.N.Y. 2000)

(dismissing securities fraud claim where the newspaper article and prospectus on which

the plaintiff’s claim relied contradicted the complaint’s description of the documents).

       Individually and collectively, the communications are consistent with Laufer being

a conscientious owner who, for wholly legitimate reasons, paid close attention to a critical

metric—patient discharge trends—that impacted the facilities’ financial performance and


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was an indicator of whether the facilities needed to improve their patient care. The

facilities’ alleged submission of false claims to Medicare was not an ordinary or reasonably

foreseeable consequence of any of Laufer’s “directives” to Whitney. The complaint’s

allegations, therefore, are not sufficient to show that Laufer “caused” the facilities to submit

false claims. Moreover, none of the communications raise a “strong inference” that Laufer

acted with fraudulent intent.

I.     The Complaint Fails to Adequately Allege That Laufer “Knowingly Caused”
       the Facilities to Submit False Claims to Medicare

       The government’s overarching theory against Laufer is that, through “directives”

that he gave to Whitney, Laufer “pressured” and “directed” the facilities to keep patients

at the facility longer and to provide patients higher levels of therapy, thereby “causing” the

facilities to provide medically unnecessary and medically unreasonable care and to submit

false claims to Medicare. The complaint’s naked allegations that Laufer “pressured” and

“directed” the facilities into committing Medicare fraud plainly do not satisfy the

applicable pleading rules. See, e.g., PetEdge Inc. v. Garg, 234 F. Supp. 3d 477, 493

(S.D.N.Y. 2017) (holding that “conclusory assertions” that the defendant, the CEO of a

company, directed the company’s lower-level employees to make fraudulent

representations were insufficient to satisfy Rule 9(b)). Moreover, the complaint’s

particularized allegations regarding Laufer’s conduct are limited to the type of benign

business communications that courts have deemed insufficient to establish False Claims

Act liability against an owner or manager on a “pressuring” theory.




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       A defendant is deemed to have “caused” another party’s submission of false claims

when the submission of false claims was the “natural, ordinary and reasonable

consequence[]” of the defendant’s alleged conduct. Kolchinsky, 162 F. Supp. 3d at 195.

This “proximate causation” test “separates the wheat from the chaff, . . . winnowing out

those claims with only attenuated links between the defendant’s specific actions and [a

third party’s ultimate] submission of the false claim.” United States ex rel. Sikkenga v.

Regence Bluecross Blueshield, 472 F.3d 702, 715 n.2 (10th Cir. 2006).

       Where the plaintiff’s theory is that the owner or manager of a healthcare facility

“caused” the submission of false claims by “pressuring” lower-level employees, federal

courts have required the plaintiff to show more than that the owner or manager set financial

targets and monitored the facility’s financial performance. For example, in United States

v. Aegis Therapies, Inc., No. CV 210-072, 2015 U.S. Dist. LEXIS 45221, at *35-37 (S.D.

Ga. Mar. 31, 2015), the court deemed insufficient to establish False Claims Act liability

against a skilled nursing facility’s manager evidence that the manager used certain

“benchmarks,” such as the percentage of patients that the facility was billing at the ultra-

high RUG level and census trends, to “measure trends in [the facility’s] billing” and to

“monitor the facility’s pulse.” The government had not shown that any employee “was

punished or reprimanded” if the benchmarks were not met, or that the benchmarks were

“used to promote or demote therapists, determine bonuses, or provide any other type of

incentive to therapists.” Id. at *36. The court called it a “prudent business practice[ ]” for

the manager to use RUG benchmarks and patient census reports to “measure trends in [the




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facility’s] billing” and identify any “deviation from past statistics” at the facility. Id. at

*35-36.

       Similarly, in United States ex rel. Alt v. Anesthesia Services Associates, No. 3:16-

cv-0549, 2019 U.S. Dist. LEXIS 223008, at *18-25 (M.D. Tenn. Dec. 31, 2019), the court

dismissed the government’s False Claims Act complaint against the manager of a

chiropractic clinic because, although the complaint alleged in conclusory fashion that the

manager “pressure[d] the providers in the clinics he supervised,” the complaint did not

allege facts demonstrating that the manager shamed or threatened providers with

repercussions if they did not achieve unreasonable financial targets.

       By contrast, in United States ex rel. Landis v. Hospice Care LLC, No. 06-2455-CM,

2010 U.S. Dist. LEXIS 129484, at *18-19 (D. Kan. Dec. 7, 2010), the court held that the

government’s complaint adequately alleged that a corporate owner of a hospice facility

“caused” the facility to submit false claims. The complaint alleged facts showing that the

corporate owner put into place numerous formal and informal business practices that

“pressured [facility] employees to certify, recertify, or not discharge patients regardless of

whether they were eligible for hospice benefits . . . .” Id. at *16. Among other things, the

complaint alleged particularized facts showing that the corporate owner “set[ ] aggressive

census targets,” provided staff with “incentives and monetary bonuses” if the targets were

met, and “threaten[ed] staff with termination of reductions in hours” if the targets were not

met. Id. at *5-6. The corporate owner also “instruct[ed] staff to inaccurately document the

condition of patients to make them appear appropriate for hospice,” “implement[ed]

procedures that delayed the discharge or made it difficult to discharge ineligible patients,”


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and “disregard[ed] or ignor[ed] compliance concerns raised by an outside consultant.” Id.

at *6. Similar factual allegations were present in United States ex rel. Hayward v.

SavaSeniorCare, LLC, No. 3:11-cv-00821, 2016 U.S. Dist. LEXIS 132336 (M.D. Tenn.

Sept. 27, 2016). In that case, the complaint’s factual allegations showed that the corporate

owner of a skilled nursing facility placed “[c]onstant pressure” on “facility-level employees

to make their ever-increasing budgets,” including making “threats of repercussions or

termination” if a facility failed to achieve the corporate owner’s billing targets and

“publicly sham[ing]” facilities that failed to achieve the targets. Id. at *14-16.

       Here, the complaint’s particularized factual allegations regarding Laufer’s conduct

do not come close to establishing that, acting with fraudulent intent, Laufer “pressured” the

facilities into submitting false claims. As an initial matter, the complaint does not allege

that Laufer personally provided any directives, orders, or instructions to the facility

employees who were responsible for patient treatment decisions and the submission of

claims. Instead, the government’s assertion is that Whitney—acting at Laufer’s “behest,”

Gov’t Compl., ¶ 57—pressured those facility employees to engage in misconduct. Yet, the

complaint does not provide particularized factual allegations showing an “entire chain” of

causation that proximately links together Laufer’s directives to Whitney, Whitney’s

interactions with facility employees, and the facilities’ alleged submission of false claims.

Ibanez, 874 F.3d at 915.

       Moreover, the specific communications between Laufer and Whitney described in

the complaint cannot fairly be characterized as Laufer, either directly or via Whitney,

“pressuring” the facilities to provide medically unnecessary and medically unreasonable


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treatment, let alone to commit Medicare fraud. Unlike the defendants in Hospice Care and

SavaSeniorCare, Laufer did not threaten Whitney or facility employees with

repercussions—such as termination, demotion, reduction in pay, or shaming—if the

facilities failed to attain some arbitrary average length of stay metric. Nor did Laufer

dangle out rewards, such as bonuses or other financial incentives, to encourage the facilities

to provide medically unnecessary or medically unreasonable care. Laufer simply asked

Whitney to “[m]ake sure [the Lynnbrook facility’s administrator] knows she has a

problem” with patient discharges, to “jump on” the Lynnbrook and Quantum facilities for

their discharge rates, to “curb [the] pace” of patient discharges at the Marquis facility, and

to make “[w]atch[ing]” discharges “priority #1.” Gov’t Compl., ¶¶ 64, 66-68. All of these

communications were in response to an unexpected change in the facility’s discharge trend.

Although the communications certainly demonstrate Laufer’s concern (and at times

exasperation) with patient discharge trends at certain facilities, this is not tantamount to

directing or pressuring Whitney to have the facilities commit Medicare fraud. Patients

sometimes leave a facility despite still needing skilled nursing care. Such premature

discharges adversely impact patient outcomes and the facility’s reputation amongst

referring hospitals and future potential patients, not just the facility’s immediate financial

performance. If a facility’s discharge rate increases unexpectedly—as it did, for example,

at the Lynnbrook facility in November 2017, see Gov’t Compl., ¶ 66—it may be a signal

that the facility is doing a poor job caring for or interacting with its patients, assessing its

patients’ medical needs, or preparing patient discharge plans. Indeed, as Whitney informed

Laufer in December 2015, the issue with the Long Island Care Center facility was that the


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director of rehabilitation had begun “discharging people too soon”—that is, before it was

medically “appropriate.” Exh. 2 (transcript of voicemail described in paragraph 92 of the

complaint). And as Whitney informed Laufer in April 2018, a number of discharges at the

Lynnbrook facility were patients who simply “wanted to leave for a variety of

reasons.”   Exh. 12 (copy of text communication described in paragraph 64 of the

complaint). It would have been irresponsible for Laufer not to have raised concerns when

Whitney or a facility administrator apprised him of such developments.

       Because a facility can and should legitimately seek to reduce the premature

discharges of patients who still need skilled nursing care, the submission of false claims

was not the “natural, ordinary and reasonable consequence[ ]” of any of Laufer’s directives

to Whitney. Kolchinsky, 162 F. Supp. 3d at 195. Nor do Laufer’s communications with

Whitney “give rise to a strong inference of fraudulent intent.” United States ex rel. Grubea

v. Rosicki, Rosicki & Assoc., 318 F. Supp. 3d, 680, 694 (S.D.N.Y. 2018).             Laufer’s

statements to Whitney regarding his desire to maximize revenue at the facilities do not

demonstrate fraudulent intent. See, e.g., Anwar v. Fairfield Greenwich, Ltd., 728 F. Supp.

2d 372, 407 (S.D.N.Y. 2010) (“General profit-making motive alone is generally disclaimed

as a sign of fraudulent intent.”). And all of Laufer’s directives to Whitney regarding patient

discharges can be understood as a legitimate effort to reduce the premature discharge of

patients who still need skilled nursing care.

       The complaint does not allege a single communication in which Whitney or anyone

else expresses any concern to Laufer that the facilities were providing or billing for

medically unnecessary or medically unreasonable care, or that it would be impossible for


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the facilities to reduce discharges legitimately. Although the government nevertheless

seeks to give a nefarious gloss to the communications between Laufer and Whitney, this is

precisely the sort of speculation and hypothesizing that neither Rule 8 nor Rule 9(b)

permits. As the Supreme Court held in Iqbal, “[w]here a complaint pleads facts that are

merely consistent with a defendant’s liability, it stops short of the line between possibility

and plausibly of entitlement to relief.” 556 U.S. at 678.

II.    The Unjust Enrichment Claims Fails, Because Laufer Did Not Receive Any
       Payments From Medicare

       New York common law applies to the government’s unjust enrichment claim. To

state an unjust enrichment claim against Laufer, the government is required to show that

Laufer “‘was enriched’” at the Medicare program’s “‘expense’” and that “‘it is against

equity and good conscience to permit [Laufer] to retain what is sought to be recovered.’”

United States v. Spectrum Painting Corp., No. 19-cv-2096, 2020 U.S. Dist. 154650, at *47-

48 (S.D.N.Y. Aug. 25, 2020) (quoting Georgia Malone & Co. v. Rieder, 19 N.Y.3d 511

(2012)).

       The complaint does not allege that Medicare made any payments to Laufer

personally. Indeed, it is undisputed that Medicare made payments only to the facilities.

The government’s theory must be that, with respect to the ten facilities in which Laufer has

an ownership interest, Laufer indirectly benefitted from the allegedly wrongful payments

that Medicare made to those facilities (i.e., some fraction of those Medicare payments

theoretically flowed through to Laufer in the form of dividend payments in pro rata

proportion to his ownership percentage). This theory does not state a cognizable unjust



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enrichment claim against Laufer. New York law is clear that an unjust enrichment claim

cannot be brought against a corporation’s owner on the theory that the owner indirectly

benefitted from a payment that the plaintiff made to the corporation. See Blobel v. Kopfli,

2018 N.Y. Misc. LEXIS 549, at *23 (N.Y. Sup. Ct. Feb. 13, 2018) (collecting cases holding

that “a benefit directly conferred on a corporation flows [only] indirectly to its equity

owners,” which is “insufficient to sustain a claim of unjust enrichment” against the

owners); cf. also Kaye v. Grossman, 202 F.3d 611, 616 (2d Cir. 2000) (holding that an

unjust enrichment claim under New York common law cannot be based on an “indirect

benefit” that the defendant realized from a payment the plaintiff made to another party);

M+J Savitt, Inc. v. Savitt, No. 08-cv-8535, 2009 U.S. Dist. LEXIS 21321, at *30 (S.D.N.Y.

Mar. 17, 2009) (“It is not sufficient for defendant to receive some indirect benefit—the

benefit received must be ‘specific and direct’ to support an unjust enrichment claim.”).

III.   Because Medicare Did Not Make Any Payments Directly to Laufer, the
       Government’s Payment-by-Mistake Claim Against Him Fails

       The elements of a payment-by-mistake claim are essentially identical to the

elements of an unjust enrichment claim. The plaintiff must show that it “made a payment

under a mistaken apprehension of fact, the defendant derived a benefit as a result of this

mistaken payment, and that equity demands restitution by [the] defendant to [the]

plaintiff.” United States ex rel. Ryan v. Staten Island Univ. Hosp., No. 04-cv-2483, 2011

U.S. Dist. LEXIS 51648, at *13 (E.D.N.Y. May 13, 2011).

       The government’s payment-by-mistake claim against Laufer fails for the same

reason its unjust enrichment claim fails: Medicare did not make any payments directly to



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Laufer, and the indirect benefits Laufer may have realized from the payments Medicare

made to the facilities do not provide a cognizable legal basis for an equitable claim against

Laufer.

IV.    The Claims Against Laufer Should Be Dismissed With Prejudice

       The government’s complaint is the culmination of a multi-year investigation that

included extensive document discovery, numerous witness interviews, and sworn

testimony from Whitney and Laufer. The Court previously invited the government to

amend its complaint prior to the defendants’ submission of dismissal motions, and the

government declined.      The government declined the Court’s invitation because the

complaint represents the government’s best efforts to plead claims against the defendants.

With respect to the claims against Laufer, the government’s best efforts are not nearly good

enough.

       This case already has imposed enormous emotional and financial stress on Laufer,

not to mention reputational harm. All of the claims against Laufer should be dismissed,

and they should be dismissed with prejudice.




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                                      CONCLUSION

      For the reasons explained above, the government’s claims against Issac Laufer

should be dismissed with prejudice.



                                        Respectfully submitted,

Dated: October 28, 2021                 By: /s/ Aaron M. Katz
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                         CERTIFICATION OF COMPLIANCE

       I certify that the foregoing Memorandum in Support of Defendants’ Motion to

Dismiss Plaintiffs’ Amended Complaint complies with the formatting and word count

rules. The Memorandum contains 6,204 words, exclusive of the cover page, table of

contents, table of authorities, signature block, and certification of compliance.

Date: October 28, 2021                            ROPES & GRAY LLP

                                                  /s/ Aaron M. Katz
                                                  Aaron M. Katz




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                           CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing document was served on

government counsel via email on this 28th day of October, 2021.

                                               /s/ Aaron M. Katz
                                               Aaron M. Katz




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